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                                                                                                    November 2, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                       CONSENT TO PROCEED BY
                                                                                VIDEOCONFERENCE
                             -v-
                                                                                 2Q -CR-228          MKV
                                                                                                    (_)(_)
Allambergen
Kudaybergenov                          Defendant(s).
-----------------------------------------------------------------X

Defendant Allambergen Kudaybergenov                                         hereby voluntarily consents to
participate in the following proceeding via videoconferencing :

         In it ial Appearance/Appointment of Counsel

         Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

          Prel iminary Hearing on Felony Complaint

          Bail/Revocation/Detention Hearing

         Status and/or Scheduling Conference

X         Misdemeanor Plea/Trial/Sentence


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 Defendant's Signature
 (Judge may obta in verbal consent on                                 Defense Counsel's Signature
 Record and Sign for Defendant)                                      /s/ Amy Gallicchio


 All.a1,fP~r~~n ~~~~berge1 ,ov
 Print e e ant s a e                                                  Amy Gallicchio
                                                                     Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.


 11/2/2020
Date
